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                                                                                    1 Abraham Colman (SBN 146933)
                                                                                      Email: acolman@reedsmith.com
                                                                                    2 Raffi Kassabian (SBN 260358)
                                                                                      Email: rkassabian@reedsmith.com
                                                                                    3 REED SMITH LLP
                                                                                      355 South Grand Avenue
                                                                                    4 Suite 2900
                                                                                      Los Angeles, CA 90071-1514
                                                                                    5 Telephone: +1 213 457 8000
                                                                                      Facsimile: +1 213 457 8080
                                                                                    6
                                                                                      Le T. Duong (SBN 297662)
                                                                                    7 Email: lduong@reedsmith.com
                                                                                      REED SMITH LLP
                                                                                    8 101 Second Street
                                                                                      Suite 1800
                                                                                    9 San Francisco, CA 94105-3659
                                                                                   10
                                                                                      Attorneys for Defendant
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                                                                                   11 Mortgage Electronic Registration Systems, Inc.
                                                                                   12
                                                                                                             UNITED STATES DISTRICT COURT
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                                                                                   13
                                                                                                           CENTRAL DISTRICT OF CALIFORNIA
                                                                                   14
                                                                                      ROBINSON, DANIEL W.; ROBINSON,               Case No.:
                                                                                   15 DARLA J.; CABRERA, MIGUEL A.
                                                                                                                                   [Removal from Superior Court of
                                                                                   16                    Plaintiffs,               California, County of Los Angeles,
                                                                                                                                   Case No. 18CHCV00052]
                                                                                   17       vs.
                                                                                                                                   NOTICE OF REMOVAL OF CIVIL
                                                                                   18 MORTGAGE ELECTRONIC                          ACTION UNDER 28 U.S.C.
                                                                                      REGISTRATION SYSTEMS, INC.,                  § 1441(B)
                                                                                   19 UNITED PACIFIC MORTGAGE;
                                                                                      UNIVERSAL AMERICAN MORTGAGE                  [Diversity of Citizenship]
                                                                                   20 COMPANY OF CALIFORNIA; and
                                                                                      DOES 1 through 25,                           [Filed concurrently with
                                                                                   21                                              1. Civil Cover Sheet;
                                                                                                      Defendants.                  2. Certification and Notice of Interested
                                                                                   22                                                 Parties;
                                                                                                                                   3. Mortgage Electronic Registration
                                                                                   23                                                 Systems, Inc.’s Corporate Disclosure
                                                                                                                                      Statement.]
                                                                                   24
                                                                                   25
                                                                                   26
                                                                                   27
                                                                                   28

                                                                                                               NOTICE OF REMOVAL TO FEDERAL COURT
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                                                                                    1         TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR
                                                                                    2 THE CENTRAL DISTRICT OF CALIFORNIA:
                                                                                    3         PLEASE TAKE NOTICE that Defendant Mortgage Electronic Registration
                                                                                    4 Systems, Inc. (“MERS” or “Defendant”) hereby removes to this Court the state court
                                                                                    5 action described below by and through their attorneys, and hereby give notice of removal
                                                                                    6 of the above-captioned action, currently pending in the Superior Court of Los Angeles
                                                                                    7 County, California, to the United States District Court for the Central District of
                                                                                    8 California. As set out more fully below, this case is a civil action over which this Court
                                                                                    9 has jurisdiction pursuant to 28 U.S.C. § 1332, and is one that may be removed to this
                                                                                   10 Court pursuant to 28 U.S.C. § 1441(b) because it is a civil action between citizens of
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                                                                                   11 different states and the amount in controversy exceeds $75,000.
                                                                                   12         In compliance with 28 U.S.C. § 1446(a), Defendant asserts the following grounds
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                                                                                   13 for removal:
                                                                                   14                                     BACKGROUND
                                                                                   15
                                                                                             1.      Plaintiffs Daniel W. Robinson, Darla J. Robinson, (“Robinsons”) and Miguel
                                                                                   16
                                                                                        A. Cabrera (“Cabrera”) (together “Plaintiffs”) filed a Complaint on or about August 10,
                                                                                   17
                                                                                        2018 in the Superior Court of California, County of Los Angeles, entitled Robinson,
                                                                                   18
                                                                                        Daniel W.; Robinson, Darla.; Cabrera, Miguel A. Plaintiff(s) vs. Mortgage Electronic
                                                                                   19
                                                                                        Registration Systems, Inc.; (not MERSCORP Holdings, Inc. a separate and distinct
                                                                                   20
                                                                                        unrelated entity); and Does 1-25 Defendant(s) at Case No. PC058705 (the “Original
                                                                                   21
                                                                                        Action”). A true and correct copy of the Complaint on file in the Original Action is
                                                                                   22
                                                                                        attached hereto as Exhibit 1.
                                                                                   23
                                                                                   24        2.      On September 21, 2018, MERS filed its Notice of Removal removing the
                                                                                   25 Original Action to the United States District Court for the Central District of California
                                                                                   26 (“Original Notice of Removal”). A true and correct copy of the Original Notice of
                                                                                   27 Removal is attached hereto as Exhibit 2.
                                                                                   28

                                                                                                                 NOTICE OF REMOVAL TO FEDERAL COURT
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                                                                                    1        3.      On September 29, 2018, MERS filed its Motion to Dismiss Pursuant to Fed.
                                                                                    2 R. Civ. P. 12(b)(6). A true and correct copy of the Motion to Dismiss is attached hereto
                                                                                    3 as Exhibit 3.
                                                                                    4
                                                                                             4.      On October 9, 2018, Plaintiffs filed their Notice of Dismissal, pursuant to
                                                                                    5
                                                                                        Fed. R. Civ. P. 41(a)(1). A true and correct copy of Plaintiffs’ Notice of Dismissal is
                                                                                    6
                                                                                        attached hereto as Exhibit 4.
                                                                                    7
                                                                                    8        5.      On October 10, 2018, The Honorable Percy Anderson, United States District
                                                                                    9 Judge, dismissed the Original Action. A true and correct copy of Judge Anderson’s
                                                                                   10 Order of Dismissal is attached hereto as Exhibit 5.
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                                                                                   11
                                                                                             6.      On October 30, 2018, Plaintiffs filed a nearly identical Complaint in the
                                                                                   12
                                                                                        Superior Court of California, County of Los Angeles, entitled Robinson, Daniel W.;
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                                                                                   13
                                                                                        Robinson, Darla.; Cabrera, Miguel A. Plaintiff(s) vs. Mortgage Electronic Registration
                                                                                   14
                                                                                        Systems, Inc.; (not MERSCORP Holdings, Inc. a separate and distinct unrelated entity);
                                                                                   15
                                                                                        United Pacific Mortgage, a California General Partnership; Universal American
                                                                                   16
                                                                                        Mortgage Company of California, a California Corporation; and Does 1-25
                                                                                   17
                                                                                        Defendant(s) at Case No. 18CHCV00052 (“This Action”). A true and correct copy of the
                                                                                   18
                                                                                        Complaint on file in This Action is attached hereto as Exhibit 6 (hereinafter “Complaint”
                                                                                   19
                                                                                        or “Compl.”).
                                                                                   20
                                                                                             7.      This Action arises from a dispute regarding two real property loans on
                                                                                   21
                                                                                        Plaintiffs’ residences secured by Deeds of Trust. The properties are located at 19127
                                                                                   22
                                                                                        Romar Street, Los Angeles, California 91324 (the “Robinson Property”) and 103
                                                                                   23
                                                                                        Crabapple Drive, Ponoma CA 91767 (the “Cabrera Property”) (the “Properties”)
                                                                                   24
                                                                                        respectively. See Compl.,¶ ¶22, 25. Ex. A. Ex. C. The Robinson Property is secured by
                                                                                   25
                                                                                        a Deed of Trust executed by Daniel W, Robinson and Darla J Robinson, husband and
                                                                                   26
                                                                                        wife as joint tenants, which was recorded in the Los Angeles County Recorder’s Office
                                                                                   27
                                                                                        on February 15, 2005, at 2005-0342544. The Cabrera Property Deed of Trust was
                                                                                   28
                                                                                                                                  -1-
                                                                                                                 NOTICE OF REMOVAL TO FEDERAL COURT
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                                                                                    1 executed by Miguel A. Cabrera and was recorded in the Los Angeles County Recorder’s
                                                                                    2 Office on October, 29, 2004, at 2004-2801028. MERS is the original beneficiary of both
                                                                                    3 the Robinson and Cabrera Deeds of Trust and remains the lien holder of the Cabrera
                                                                                    4 Deed of Trust, as the Robinson Deed of Trust was reconveyed in 2018.
                                                                                    5        8.     As more fully set forth below, this case is properly removed to this Court
                                                                                    6 pursuant to 28 U.S.C. § 1441 because there is federal jurisdiction on diversity grounds: as
                                                                                    7 an action between citizens of different states in which the amount in controversy exceeds
                                                                                    8 $75,000. Defendant has satisfied the procedural requirements for removal set forth in 28
                                                                                    9 U.S.C. § 1446. In filing this Notice of Removal, Defendants reserve all defenses,
                                                                                   10 including but not limited to lack of personal jurisdiction, insufficient process, insufficient
                 A limited liability partnership formed in the State of Delaware




                                                                                   11 service of process, and failure to join and/or misjoinder of parties.
                                                                                   12 I.      REMOVAL IS PROPER BASED ON DIVERSITY OF CITIZENSHIP
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                                                                                   13        9.     The State Court Action may be removed to the United States District Court
                                                                                   14 in accordance with 28 U.S.C. § 1441(b), since this District Court has original jurisdiction
                                                                                   15 over the State Court Action on the basis of diversity of citizenship pursuant to 12 U.S.C.
                                                                                   16 § 1332. Specifically, the State Court Action is a civil action between citizens of different
                                                                                   17 states and the amount in controversy exceeds the sum of $75,000.00.
                                                                                   18             A. There is Complete Diversity of Citizenship
                                                                                   19       10.     In order to qualify for diversity of citizenship jurisdiction, all of the named
                                                                                   20 plaintiffs’ citizenships must be completely diverse from all the named defendants’
                                                                                   21 citizenships, excluding nominal, fraudulent and/or sham defendants. See Grupo Dataflux
                                                                                   22 v. Atlas Global Group, LP, 541 U.S. 567, 571 (2004).
                                                                                   23                   1. Plaintiffs’ Citizenship
                                                                                   24       11.     Plaintiffs allege that they reside at the Properties located in Los Angeles,
                                                                                   25 California, and thereby are citizens of the State of California. See Compl., ¶¶ 3-4. Since
                                                                                   26 Plaintiffs’ Complaint, which is a part of the state court record, alleges that Plaintiffs’
                                                                                   27 residences are in California, and Plaintiffs have filed suit with respect to a the rights
                                                                                   28 associated with foreclosure of real property owned and resided by Plaintiffs in Los
                                                                                                                                   -2-
                                                                                                                  NOTICE OF REMOVAL TO FEDERAL COURT
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                                                                                    1 Angeles County, California, Plaintiffs would be deemed to be domiciled in California,
                                                                                    2 and therefore are citizens of California for diversity purposes. See Lew v. Moss, 797 F.2d
                                                                                    3 747, 749 - 750 (9th Cir. 1986) (a person is domiciled in a location where he or she has
                                                                                    4 established a fixed habitation or abode in a particular place, and intends to remain there
                                                                                    5 permanently or indefinitely, such as the location of “real property”). Therefore,
                                                                                    6 Plaintiffs are citizens of California for purposes of diversity jurisdiction.
                                                                                    7                  2. MERS’s Citizenship
                                                                                    8      12.      Defendant Mortgage Electronic Registration Systems, Inc. (“MERS”) is a
                                                                                    9 corporation organized and existing under the laws of the state of Delaware, with its
                                                                                   10 principal place of business in Reston, Virginia.           Therefore, Mortgage Electronic
                 A limited liability partnership formed in the State of Delaware




                                                                                   11 Registration Systems, Inc. is a citizen of Virginia and Delaware.
                                                                                   12                  3. Defendant United Pacific Mortgage’s Citizenship
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                                                                                   13      13.      On information and belief, Defendant United Pacific Mortgage (“United”)
                                                                                   14 no longer exists or possesses any assets. Compl., Ex. B ¶ 3. However, according to the
                                                                                   15 California Secretary of State Business Search Website, an entity named United Pacific
                                                                                   16 Mortgage Corporation is listed as FTB Suspended. See California Secretary of State
                                                                                   17 Business Search Results – United Pacific Mortgage Corporation, attached hereto as
                                                                                   18 Exhibit 7.
                                                                                   19      14.      Plaintiffs’ aver that United is a California General Partnership. Compl. ¶ 6.
                                                                                   20                  4. Defendant         Universal    American    Mortgage     Company     of
                                                                                   21                       California’s Citizenship
                                                                                   22      15.      Defendant Universal American Mortgage Company of California
                                                                                   23 (“Universal American”) does not appear to be a registered entity in the State of
                                                                                   24 California.     See      California      Secretary    of      State   Business     Search,
                                                                                   25 https://businesssearch.sos.ca.gov/ (last visited March 22, 2019) (demonstrating that no
                                                                                   26 such entity exists under California law). However, according to the California Secretary
                                                                                   27 of State Business Search Website, an entity named Universal American Mortgage
                                                                                   28 Company, a corporation organized under the laws of Florida, is listed as “Surrender.” See
                                                                                                                                   -3-
                                                                                                                 NOTICE OF REMOVAL TO FEDERAL COURT
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                                                                                    1 California Secretary of State Business Search Results – United Pacific Mortgage
                                                                                    2 Corporation, attached hereto as Exhibit 8.
                                                                                    3        16.     Plaintiffs aver that Universal Mortgage is a California Corporation. Compl.
                                                                                    4 ¶ 7.
                                                                                    5                    5. United and Universal American are Fraudulently Joined
                                                                                    6        17.     The citizenship of United and Universal American are not relevant to the
                                                                                    7 diversity inquiry because they were fraudulently joined for the reasons set forth below,
                                                                                    8 and as such may be ignored for purposes of determining diversity jurisdiction. Ritchey v.
                                                                                    9 Upjohn Drug Co., 139 F.3d 1313, 1318 (9th Cir. 1998) (“It is a commonplace that
                                                                                   10 fraudulently joined defendants will not defeat removal on diversity grounds.”); Sherman
                 A limited liability partnership formed in the State of Delaware




                                                                                   11 v. Wells Fargo Bank, N.A., No. SACV 10-1538, 2010 U.S. Dist. LEXIS 131890, at *2
                                                                                   12 (C.D. Cal. Nov. 22, 2010).
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                                                                                   13        18.     The term “fraudulent joinder” is a term of art. Id. The plaintiff’s motive
                                                                                   14 need not be “fraudulent” in an ordinary sense; rather, a defendant has been fraudulently
                                                                                   15 joined where “the plaintiff fails to state a cause of action against a resident defendant.”
                                                                                   16 Id. Indeed, “the test for fraudulent joinder resembles a Rule 12(b)(6) analysis.” TPS
                                                                                   17 Utilicom Servs. V. AT&T Corp., 223 F. Supp. 2d 1089, 1102 (C.D. Cal. 2002). See also
                                                                                   18 Sherman v. Wells Fargo Bank, N.A., No. CIV S-11-0054, 2011 WL 1833090, at *2 (E.D.
                                                                                   19 Cal. May 12, 2011).
                                                                                   20        19.     To survive a motion to dismiss under Rule 12(b)(6), the Complaint “must
                                                                                   21 contain sufficient factual matter ... to ‘state a claim to relief that is plausible on its face.’”
                                                                                   22 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corporation v.
                                                                                   23 Twombly, 550 U.S. 544, 570 (2007)). A complaint must include something “more than
                                                                                   24 an unadorned, the-defendant-unlawfully-harmed-me accusation.” Iqbal, 556 U.S. at 678.
                                                                                   25 The Iqbal Court made clear that “threadbare recitals of a cause of action’s elements
                                                                                   26 supported by conclusory statements” are insufficient to overcome a motion to dismiss. Id.
                                                                                   27 Further, “Rule 8(a)(2)…requires a ‘showing’, rather than a blanket assertion of
                                                                                   28 entitlement to relief. Without some factual allegation in the complaint, it is hard to see
                                                                                                                                     -4-
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                                                                                    1 how a claimant could satisfy the requirements of providing not only ‘fair notice’ of the
                                                                                    2 nature of the claim, but also ‘grounds’ on which the claim rests.” Twombly, 550 U.S. at
                                                                                    3 555, n. 3 (citations omitted). Thus, to survive a motion to dismiss, the complaint must
                                                                                    4 have non-conclusory factual content from which reasonable inferences can be drawn that
                                                                                    5 are plausibly suggestive of a claim. Moss v. U.S. Secret Service, 572 F.3d 962, 969 (9th
                                                                                    6 Cir. 2009). A court is not “required to accept as true allegations that are merely
                                                                                    7 conclusory, unwarranted deductions of fact, or unreasonable inferences.” Sprewell v.
                                                                                    8 Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001).
                                                                                    9       20.        Applying this standard here, the Complaint is bereft of any facts or
                                                                                   10 allegations demonstrating any liability or wrongdoing on the part of United or Universal
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                                                                                   11 American. Rather the Complaint and documents attached hereto demonstrate that
                                                                                   12 United and Universal are now-defunct entities that acted in accordance with the plain
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                                                                                   13 language of the Deeds of Trust and the Complaint fails entirely to make any claim of
                                                                                   14 wrongdoing or for damages against them. United and Universal American’s status as
                                                                                   15 non-existent entities, the language of the Deeds of Trust, and Plaintiffs’ failure to state a
                                                                                   16 plausible claim for relief provide the basis for judgment in their favor. See California
                                                                                   17 Secretary of State Business Search, https://businesssearch.sos.ca.gov/ (last visited March
                                                                                   18 22, 2019) (demonstrating that no such entities exist under California law), see also
                                                                                   19 Compl., Ex. A, B, ¶¶ 3, 4, 20, 23; see generally Compl.
                                                                                   20        21.       As non-existent entities, United and Universal American have no interest in
                                                                                   21 the outcome of the action, have no interest in the real estate loan that is the subject of the
                                                                                   22 lawsuit, or the real property involved in the lawsuit, and have no substantive or viable
                                                                                   23 claims against them. Fed. R. Civ. P. 17(b)(2)-(3); see also Hills Motors, Inc. v. Hawaii
                                                                                   24 Auto. Dealers’ Ass’n, 997 F.2d 581, 584 (9th Cir. 1993). 1
                                                                                   25
                                                                                        1 The capacity of a legal entity to sue or be sued in federal court is controlled by Federal Rule of Civil
                                                                                   26 Procedure 17. Rule 17(b) provides that the capacity of a partnership is controlled “by the law of the
                                                                                        state where the court is located” and the capacity of a corporation to be sued is controlled “by the law
                                                                                   27 under which it was organized” Fed. R. Civ. P. 17(b)(2)-(3).
                                                                                   28
                                                                                                                                          -5-
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                                                                                    1       22.     To the degree that United and/or Universal American are found to be
                                                                                    2 existing entities, Plaintiffs’ claims run contrary to the plain language of their Deeds of
                                                                                    3 Trust and accordingly should be dismissed. Compl., Ex. A, C; see also Ramirez v. U.S.
                                                                                    4 Bank Nat'l Ass'n, Case No.: 17-CV-0786 W (BGS), at *8 (S.D. Cal. Aug. 14, 2017)
                                                                                    5 (dismissing Plaintiff’s cause of action based on assignment of the deed of trust, where it
                                                                                    6 contained language that would have allowed MERS to act as nominee of the lender and
                                                                                    7 its successors and assigns.).
                                                                                    8       23.     Plaintiffs have also failed to plead any cause of action against United or
                                                                                    9 Universal American. See generally Compl.
                                                                                   10       24.     With the exception of Paragraphs 6 and 7, wherein Plaintiffs attempt to
                 A limited liability partnership formed in the State of Delaware




                                                                                   11 establish United and Universal American as residents of California, the Complaint
                                                                                   12 remains identical to the complaint filed in the Original Action, which did not include
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                                                                                   13 United or Universal American as Defendants and does not allege wrongdoing or damages
                                                                                   14 against United or Universal American. Compare Compl., Exhibit 6; to Original Compl,
                                                                                   15 Exhibit 1. Instead, Plaintiffs’ claims are alleged against MERS only. See generally
                                                                                   16 Compl.
                                                                                   17       25.     Such conclusory allegations are insufficient to survive a motion to dismiss.
                                                                                   18 See Brazil v. United States Dep’t of Navy, 66 F.3d 193, 199 (9th Cir. 1995) (dismissing
                                                                                   19 plaintiff’s claims for failure to meet “the minimum threshold in providing [defendants]
                                                                                   20 with notice of what [they] allegedly did wrong); Edwards v. Wachovia Mort., 2011 WL
                                                                                   21 4591907, at *3-4 (dismissing claim because plaintiff “failed to plead non-conclusory
                                                                                   22 factual allegations indicating how he was damaged”).
                                                                                   23       26.     Therefore, Plaintiff fails to state a claim upon which relief can be granted
                                                                                   24 against United and Universal American. They should be deemed sham defendants and
                                                                                   25 disregarded for purposes of diversity. Ritchey v. Upjohn Drug Co., 139 F.3d 1313, 1318
                                                                                   26 (9th Cir. 1998); Bond v. Cal. Western Reconveyance Corp., No. C12-01523 HRL, 2012
                                                                                   27 WL 2150313, at *2 (N.D. Cal. June 12, 2012) (determining that defendants were
                                                                                   28 “fraudulent defendants whose citizenship shall not destroy diversity jurisdiction over this
                                                                                                                                 -6-
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                                                                                    1 action.”); Nong, 2010 U.S. Dist. LEXIS 131890 (finding that mere agent was fraudulently
                                                                                    2 joined); Sherman, 2011 WL 1833090, at *3 (finding that trustee under deed of trust was
                                                                                    3 fraudulently joined for diversity purposes).
                                                                                    4                   6. Defendant DOES 1 through 25’s Citizenship
                                                                                    5       27.     Upon information and belief, Does 1-25 have not been named or served, and
                                                                                    6 thus their consent is not required. See 28 U.S.C. § 1441(b)(1) (“In determining whether a
                                                                                    7 civil action is removable on the basis of the jurisdiction under section 1332(a) of this title,
                                                                                    8 the citizenship of defendants sued under fictitious names shall be disregarded.”).
                                                                                    9       28.     Because no Defendant has the same citizenship as Plaintiffs, complete
                                                                                   10 diversity of citizenship exists.
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                                                                                   11             B. The Amount in Controversy Requirement is Satisfied
                                                                                   12       29.     The threshold amount associated with diversity jurisdiction is $75,000. 28
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                                                                                   13 U.S.C. § 1332(a). Generally, “[t]he amount in controversy is determined from the
                                                                                   14 allegations or prayer of the complaint.” Schwarzer, Tashima & Wagstajfe, Fed. Civ.
                                                                                   15 Proc. Before Trial (2009), ¶ 2:450 (citing St. Paul Mercury Indem. Co., v. Red Cab Co.,
                                                                                   16 303 U.S. 283, 289 (1938), which held that an inability to recover an amount adequate to
                                                                                   17 give the court jurisdiction does not oust the court of jurisdiction). Removal is proper if,
                                                                                   18 from the allegations in the Complaint and the Notice Removal, it is more likely than not
                                                                                   19 that the claims exceed $75,000. Sanchez v. Monument Life Ins. Co., 102 F.3d 398, 403-
                                                                                   20 04 (9th Cir. 1996). In determining whether the jurisdictional minimum is met, courts
                                                                                   21 consider all recoverable damages, including emotional distress damages, punitive
                                                                                   22 damages, statutory penalties, and attorneys’ fees. Hunt v. Washington State Apple
                                                                                   23 Advertising Comm’n, 432 U.S. 333 (1977); Galt G/S v. JSS Scandinavia, 142 F.3d 1150,
                                                                                   24 1155-56 (9th Cir. 1998). The State Court Action is one in which the alleged amount in
                                                                                   25 controversy plainly exceeds the sum or value of $75,000, exclusive of interest and costs.
                                                                                   26       30.     This dispute is chiefly related to Cabrera Deed of Trust, which secured a
                                                                                   27 promissory note in the original amount (the “Cabrera Note”) of $390,700 loan that
                                                                                   28 Cabrera obtained in 2004. Upon information and belief, the unpaid principal balance on
                                                                                                                                   -7-
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                                                                                    1 the Cabrera Note is currently in excess of $263,354. This dispute is also related to the
                                                                                    2 Robinson Deed of Trust, which secured a promissory note in the original amount of
                                                                                    3 $999,950 (the “Robinson Note”). The Robinson Deed of Trust is paid off and was
                                                                                    4 reconveyed of record. Thus, MERS can only presume their intention in this lawsuit is to
                                                                                    5 retroactively turn their deed of trust unenforceable. Consequently, the value of their
                                                                                    6 entire property is in controversy.          Further, the Robinsons have been fraudulently
                                                                                    7 added as Plaintiffs to this action in violation of Federal Rule of Civil Procedure 20(a), as
                                                                                    8 they do not have claims arising from the same transaction or occurrence as the Cabrera.
                                                                                    9    31. The Cabrera Property is currently assessed at $599,907.00. The Robinson Property
                                                                                   10 is currently assessed at $1,267,517.00, both of which are well above the minimum
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                                                                                   11 jurisdictional amount.
                                                                                   12       32.      While Plaintiffs’ Complaint is vague concerning the amount in dispute,
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                                                                                   13 especially as they package their claims as seeking declaratory relief, their allegations
                                                                                   14 make clear that they seek in excess of the jurisdictional amount for diversity. Plaintiffs
                                                                                   15 allege inter alia, two requests for declaratory judgment: (1) a judicial determination that
                                                                                   16 MERS is not a beneficiary under the Cabrera or the Robinson Deed of Trust, and
                                                                                   17 therefore does not hold any rights, title or interest to the Cabrera or Robinson Properties
                                                                                   18 (2) a judicial determination that MERS is not a Nominee or Agent under the Cabrera or
                                                                                   19 Robinson Deeds of Trust. See Compl. ¶¶ 14, 15, 17. All of Plaintiffs’ claims contest and
                                                                                   20 ultimately aim to void the $390,700 Cabrera Deed of Trust, which secures the Cabrera
                                                                                   21 Note, which, on information and belief, Cabrera currently owes in excess of $263,354.
                                                                                   22 The relief sought therefore exceeds $75,000. Moreover, Plaintiffs by seeking the
                                                                                   23 declaratory relief stated herein, are attacking MERS’s ability to assign both the Cabrera
                                                                                   24 and the Robinson Deeds of Trust as the original beneficiary and its right to assign the
                                                                                   25 power of sale which Plaintiffs granted to MERS in both the Cabrera and Robinson Deeds
                                                                                   26 of Trust. “In actions seeking declaratory or injunctive relief, it is well established that the
                                                                                   27 amount in controversy is measured by the value of the object of the litigation.” Hunt v.
                                                                                   28 Wash. State Apple Adver. Comm'n, 432 U.S. 333, 347 (1977). Here, Plaintiffs seek to
                                                                                                                                   -8-
                                                                                                                  NOTICE OF REMOVAL TO FEDERAL COURT
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                                                                                    1 invalidate MERS’s interests in their respective Deeds of Trust, especially MERS’s power
                                                                                    2 of sale over their respective Properties, y “[a]s such, pursuant to Hunt, the amount in
                                                                                    3 controversy should be measured by this power and will therefore be equivalent to at least
                                                                                    4 [$390,700 plus $999,950]. Zepeda v. U.S. Bank, N.A., No. SA CV 11-0909 DOC, 2011
                                                                                    5 WL 4351801, at *4 (C.D. Cal. Sept. 16, 2011). See also Yhudai v. Mortg. Elec.
                                                                                    6 Registration Sys., Inc., No. CV1505035MMMJPRX, 2015 WL 5826777, at *6 (C.D. Cal.
                                                                                    7 Oct. 2, 2015) (holding, “the value of the mortgage loan is an appropriate measure of the
                                                                                    8 litigation.”)
                                                                                    9       33.       Further, while not pled as a separate cause of action, Plaintiffs also seek
                                                                                   10 costs and attorneys’ fees for this action. See Compl. at Prayer.
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                                                                                   11 II.     DEFENDANTS HAVE SATISFIED THE PROCEDURAL
                                                                                   12         REQUIREMENTS FOR REMOVAL
REED SMITH LLP




                                                                                   13             A. Removal to This Court is Proper
                                                                                   14       34.       The Superior Court of California for the County of Los Angeles is located
                                                                                   15 within the Central District of California. Thus, the Central District of California is the
                                                                                   16 proper venue for this removal because it is the “district and division embracing the place
                                                                                   17 where such action is pending.” 28 U.S.C. § 1441(b); see also 28 U.S.C. §84(c)(2).
                                                                                   18         B. Procedural Requirements
                                                                                   19                    1. Removal is Timely
                                                                                   20       35.       This Notice is timely in that it is being filed within thirty (30) days of
                                                                                   21 Defendants’ receipt of Plaintiff’s initial pleading on February 20, 2019, which was the first
                                                                                   22 time that MERS ascertained that This Action was removable under federal law. See 28 U.S.C.
                                                                                   23 1446(b).
                                                                                   24       36.       MERS was served on February 20, 2019, thus this action has been removed
                                                                                   25 within thirty days of service.
                                                                                   26                    2. Existing Co-Defendants Have Consented
                                                                                   27       37.       The only other, named Defendants in this lawsuit are United and Universal
                                                                                   28 American. As discussed above, United and Universal American are defunct non-existent
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                                                                                                                  NOTICE OF REMOVAL TO FEDERAL COURT
                                                                                   Case 2:19-cv-02185-PSG-AS Document 1 Filed 03/22/19 Page 12 of 13 Page ID #:12



                                                                                    1 entities from which no consent is necessary or possible. Because United and Universal
                                                                                    2 are a sham defendant for the reasons previously explained, they should be disregarded in
                                                                                    3 this litigation. Ritchey v. Upjohn Drug Co., 139 F.3d 1313, 1318 (9th Cir. 1998). To the
                                                                                    4 extent United and/or Universal American’s consent is nonetheless deemed required,
                                                                                    5 Defendant’s counsel has made a good faith effort to obtain consent from them but have
                                                                                    6 not received a response.
                                                                                    7                   3. Appropriate Notice Has Been Provided
                                                                                    8       38.      Defendants will promptly serve Plaintiffs and file with this Court its Notice
                                                                                    9 of Removal to All Adverse Parties, informing Plaintiffs that this matter has been removed
                                                                                   10 to federal court. See 28 U.S.C. §§ 1446(a), (d). Defendants will also promptly file with
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                                                                                   11 the Clerk of the Superior Court of California, County of Los Angeles, Chatsworth
                                                                                   12 Courthouse, and serve on Plaintiffs a Notice to Clerk of Removal to Federal Court,
REED SMITH LLP




                                                                                   13 pursuant to 28 U.S.C. § 1446(d).
                                                                                   14                   4. Bond and Verification
                                                                                   15       39.      Pursuant to Section 1016 of the Judicial Improvements and Access to Justice
                                                                                   16 Act of 1988, no bond is required in connection with this Notice of Removal. Pursuant to
                                                                                   17 Section 1016 of the Act, this Notice need not be verified.
                                                                                   18                   5. Signature
                                                                                   19       40.      This Notice of Removal is signed pursuant to Fed. R. Civ. P. 11. See 28
                                                                                   20 U.S.C. § 1446(a).
                                                                                   21       41.      Accordingly, all jurisdictional requirements for diversity removal are
                                                                                   22 satisfied.
                                                                                   23        WHEREFORE, Defendant respectfully requests this case be removed from the
                                                                                   24 Superior Court off the State of California for the County of Los Angeles to the United
                                                                                   25 States District Court for the Central District of California, pursuant to 28 U.S.C. §§ 1332
                                                                                   26 and 1441(b).
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                                                                                                                 NOTICE OF REMOVAL TO FEDERAL COURT
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                                                                                    2 DATED: March 22, 2019                        REED SMITH LLP
                                                                                    3
                                                                                    4                                             By: /s/Le T. Duong
                                                                                                                                   Abraham Colman (SBN 146933)
                                                                                    5                                              Raffi Kassabian (SBN 260358)
                                                                                    6                                              Le T. Duong (SBN 297662)
                                                                                                                                   Attorneys for Defendant Mortgage
                                                                                    7                                              Electronic Registration Systems, Inc.
                                                                                    8
                                                                                                                 CERTIFICATE OF SERVICE
                                                                                    9
                                                                                            I certify that on March 22, 2019, I filed the foregoing document electronically
                                                                                   10 through the CM/ECF system, and served the following counsel of record via e-mail:
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                                                                                   11                                 Attorney for Plaintiffs
                                                                                   12                                      Al West Esq.
                                                                                                                  700 N Pacific Coast Hwy #201
REED SMITH LLP




                                                                                   13                              Redondo Beach, Calif. 90277
                                                                                                                 WestandAssociates1@gmail.com
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